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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 MICHIGAN WELFARE RIGHTS
 ORGANIZATION, et al.,

                 Plaintiffs,                     Case No. 1:20-cv-03388-EGS
 v.

 DONALD J. TRUMP, et al.,

                 Defendants.



           PLAINTIFFS’ UNOPPOSED MOTION FOR EXTENSION OF TIME
              TO RESPOND TO DEFENDANTS’ MOTIONS TO DISMISS

        Plaintiffs respectfully move this Court to extend their deadline to respond to Defendants’

motions to dismiss from March 10, 2021, to and including April 7, 2021.

        Plaintiffs filed an Amended Complaint in this matter on December 21, 2020. This Court

granted Defendants’ requests for extensions of time to file responsive pleadings. Defendant

Republican National Committee filed a motion to dismiss on February 24, 2021, and Defendants

Donald J. Trump and Donald J. Trump for President, Inc., filed a separate motion to dismiss on

February 24, 2021.

        Plaintiffs seek a 28-day extension to respond to Defendants’ motions to dismiss in order to

file their opposition to the Defendants’ motions. This extension will permit Plaintiffs to address

factual and legal issues unique to and overlapping factual and legal issues between each motion to

dismiss. This is Plaintiffs’ first request for an extension. Plaintiffs’ request for an extension of time

until April 7, 2021 is not meant to delay this litigation and will not prejudice the parties.

        Pursuant to Local Rule 7(m), Plaintiffs have conferred with Defendants regarding their

request for an extension of time. Defendants have stated that they do not oppose this request.



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      For the foregoing reasons, Plaintiffs respectfully request that this Court grant their

Unopposed Motion for Extension of Time to Respond to Defendants’ Motions to Dismiss.

 Dated: March 3, 2021              Respectfully submitted,
                                   /s/ Jason M. Bradford
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                                   *Application for admission or for pro hac vice admission
                                   pending or forthcoming




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                                CERTIFICATE OF SERVICE

       I certify that on March 3, 2021, I electronically filed the foregoing PLAINTIFFS’

UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO DEFENDANTS’

MOTIONS TO DISMISS and the accompanying proposed order with the Clerk of the Court using

the CM/ECF system, which will send notification of such filing to all counsel and parties of record.



 Dated: March 3, 2021                                   /s/ Jason M. Bradford
                                                        Jason M. Bradford
                                                        Attorney for Plaintiffs
